   UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF TENNESSEE

                              CASE NO: 1:19-cv-00044-TRM-SKL

 STEPHEN EIMERS, as Personal Representative
 of the Estate of HANNAH EIMERS, Deceased,

                       Plaintiff,

 v.

 VALMONT INDUSTRIES, INC., a foreign
 corporation; VALMONT HIGHWAY, a foreign
 corporation; ARMORFLEX INTERNATIONAL
 LIMITED, a foreign corporation; LINDSAY
 CORPORATION, a foreign corporation; LINDSAY
 TRANSPORTATION SOLUTION SALES &
 SERVICE, LLC., a foreign corporation; and
 REYNOLDS FENCE & GUARDRAIL, INC., a
 foreign corporation,

                 Defendants.
  _______________________________________/

          PLAINTIFF’S MOTION FOR DISMISSAL OF DEFENDANTS, VALMONT
      INDUSTRIES, INC., VALMONT HIGHWAY, AND ARMORFLEX INTERNATIONAL
                           LIMITED WITHOUT PREJUDICE

         Plaintiff Stephen Eimers hereby moves to dismiss Defendants VALMONT

 INDUSTRIES, INC., VALMONT HIGHWAY, and ARMORFLEX INTERNATIONAL

 LIMITED [hereinafter “Valmont Defendants”] without prejudice.           In support thereof,

 Plaintiff would show that:

           1. The Plaintiff and Valmont Defendants have entered into a tolling

               agreement predicated on the dismissal of the Valmont Defendants without

               prejudice, and the preservation of all defenses available to the Valmont

               Defendants as set forth in that agreement.




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           2. The Valmont Defendants have not yet appeared in this action, nor have

              they made any filings.

           3. The Valmont Defendants do not oppose the request sought herein on the

              understanding that it does not alter or waive any defenses that have been

              reserved in the tolling agreement.

       WHEREFORE, Plaintiff respectfully requests the Court grant this Motion to

 dismiss Defendants VALMONT INDUSTRIES, INC., VALMONT HIGHWAY, and

 ARMORFLEX INTERNATIONAL LIMITED without prejudice.


                               CERTIFICATE OF SERVICE

         I hereby certify that on Thursday, June 13, 2019 I electronically filed the
 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
 foregoing document is being served this day on all counsel of record or pro se parties
 identified on the attached Service List in the manner specified, either via transmission of
 Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
 for those counsel or parties who are not authorized to receive electronically.

                                           s/POORAD RAZAVI
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         I hereby certify that a true and correct copy of the foregoing Response was served on
 counsel for the parties listed below via electronic mail and first class mail, postage prepaid,
 unless said party is a registered CM/ECF participant who has consented to electronic notice, and
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